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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


Edmundo S. Ruiz, Jr.,                                        Case No. 3:08CR304

                        Petitioner

              v.

United States of America,

                        Respondent


       This is a federal prisoner’s collateral attack under 28 U.S.C. § 2255.

       Petitioner Edmundo S. Ruiz, Jr., pled guilty to participating in a drug conspiracy, 21 U.S.C.

§ 846, and unlawful use of a communication facility, 21 U.S.C. § 843(b). I sentenced him to 240

months’ imprisonment.

       Ruiz now moves to vacate his sentence, arguing I erred in describing the scope of the appeal

waiver in his plea agreement.

       For the following reasons, I deny the motion.

                                          Background

       After his indictment on the aforementioned charges, Ruiz and the government negotiated a

plea agreement.

       The agreement included a waiver of Ruiz’s right to file a direct appeal and a § 2255 motion.

However, Ruiz reserved his right “to appeal: (a) any punishment in excess of the statutory

maximum; [and] (b) any sentence to the extent it exceeds the maximum of the sentencing range

determined under the advisory Sentencing Guidelines[.]” (Doc. 206 at 10). Nor did the waiver bar
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Ruiz “from perfecting any legal remedies he may have . . . respecting claims of ineffective assistance

of counsel or prosecutorial misconduct.” (Id.).

        In April, 2009, Ruiz appeared before Magistrate Judge Armstrong for a change-of-plea

hearing. The Magistrate asked whether Ruiz had read the agreement, and Ruiz testified he had. Ruiz

also testified he “fully underst[oo]d the terms of th[e] plea agreement[.]” (Doc. 228 at 17).

        The Magistrate Judge then advised Ruiz that, if he “were found guilty after a trial, [he] would

have a right to appeal. However, pursuant to the plea agreement which has been tendered to the

Court, you are giving up, waiving your right to appeal except in specific instances[.]” (Id. at 15). The

Magistrate asked whether Ruiz understood this, and Ruiz said he did.

        Magistrate Armstrong asked the prosecutor to summarize the plea agreement. After

discussing the factual basis for the plea and the potential penalties, the prosecutor turned to the

appeal waiver:

        Paragraph 24 refers to waiver of right to appeal, and the Court referenced this earlier
        in its discussion with the defendant. The defendant does agree under the terms of this
        agreement to waive any right to appeal his conviction or sentence, including any
        appeal right conferred by 18, United States Code, Section 3742, and to challenge the
        conviction or sentence collaterally through a proceeding under 28, U.S.C., 2255.

        Those are the rights that the defendant gives up. The defendant does reserve the right
        to appeal any punishment in excess of the statutory maximum or any sentence to the
        extent that it exceeds the maximum of the sentencing range determined under the
        advisory sentencing guidelines in accordance with the sentencing stipulations and
        computations in this agreement, using the criminal history that is ultimately found
        by this Court.

        That is the waiver of rights provision and – the waiver of appeal, I should say
        provision, and it is set forth in the agreement.

(Id. at 28-29).




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        The Magistrate then confirmed the prosecutor’s summary accurately reflected the plea

agreement’s terms:

        The Court:     And do you understand the waiver of your rights to appeal as outlined
                       in the plea agreement and by Mr. Wilson [the prosecutor], and that –
                       Mr. Wilson, I don’t know that you addressed this, but you’ve asked
                       this agreement be sealed. Is that correct?

        Mr. Wilson:    That is correct, Your Honor.

        The Court:     And Mr. Hart [defense counsel], you agree with that?

        Mr. Hart:      Yes, Your Honor.

        The Court:     Mr. Ruiz, do you have any questions or concerns about this plea
                       agreement?

        Defendant:     No, Your Honor.

        The Court:     And now I’m going to ask, you’ve heard Mr. Wilson’s statement, did
                       he accurately summarize the terms of the plea agreement that you
                       think you’ve entered into?

        Defendant:     Yes, Your Honor.

(Id. at 33-34).

        Finally, Magistrate Armstrong asked if the parties were “satisfied that the Court has

complied with the requirements of Rule 11.” (Id. at 47). Both parties indicated they were so

satisfied.

        The Magistrate prepared a Report and Recommendation, finding Ruiz’s “plea was knowing,

intelligent, and voluntary, and that all requirements imposed by . . . Fed. R. Crim. P. 11 have been

satisfied.” (Doc. 207 at 2). I concurred, accepted the plea, and entered a finding of guilty.




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       Before sentencing, the parties negotiated an amended plea agreement in which Ruiz

consented to a four-level enhancement for a leadership role in the offense, no reduction for

acceptance of responsibility, and a 240-month sentence.

       At a hearing on July 13, 2011, Ruiz’s lawyer informed me his client understood and agreed

to all provisions of the amended agreement:

       Mr. Hart:      Mr. Ruiz has reviewed the amended plea agreement, reviewed all the
                      terms within. He does understand both the general provisions, the
                      provisions as it [sic] relates to the sentence, as well as the specific
                      waiver of appellate and post-conviction rights section . . . and I do
                      believe [Ruiz] understands the nature of both what he is accepting as
                      well as giving up at this time.

       The Court:     What I would propose – Mr. Ruiz, is that correct?

       Defendant:     Yes, Your Honor.

(Doc. 500 at 2-3).

       The prosecutor then discussed the new agreement’s appeal waiver:

       Paragraph 16 is waiver of right to appeal. Essentially, that is the same. There is one
       addition, it was paragraph 24 in the original agreement. “The defendant realizes by
       entering into this agreement he has agreed to waive his right to appeal the conviction
       or sentence in this case, including any rights confirmed [sic] upon him pursuant to
       18 United States Code Section 3742, and to challenge the conviction or sentence
       collaterally through a post-conviction proceeding, including a proceeding under 28
       United States Code 2255. The defendant expressly waives those rights except he
       reserves the right to appeal any punishment in excess of the statutory maximum and
       any sentence to the extent it exceeds the maximum of the sentencing range
       determined under the advisory Sentencing Guidelines, in accordance with the
       sentencing stipulations and computations in this agreement, using the criminal
       history category found applicable by the Court.”

       The defendant still reserves the right he would have on appeal collaterally to attack
       and to bring claims of ineffective assistance of counsel or prosecutorial misconduct.

       What is new is that we have agreed “the defendant hereby withdraws any and all
       previous motions and legal claims he has raised in this case to date, and agrees to


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        forego any appellate claims and post-conviction remedies as it relates to those
        motions and claims, except as provided in this paragraph.”

(Id. at 9).

        I asked Ruiz’s lawyer if the prosecutor’s statement was an accurate reflection of the parties’

agreement, and counsel responded:

        “It is, Your Honor. It is what I discussed with Mr. Ruiz this morning at the jail, as
        well as again at the marshal’s office. He has had a chance to review the document
        both with myself as well as independently, and I believe he does understand all the
        terms expressed by Ms. Dustin [the prosecutor].”

(Id. at 10).

        I had a colloquy with Ruiz to ensure he knowingly and voluntarily entered the amended plea

agreement. While doing so, I mentioned the appeal waiver:

        The Court:     And do you also understand that you have a very, very limited right
                       of appeal. Only if I were to give you a sentence that exceeded the
                       potential sentence in any way could you appeal. Do you understand
                       that?

        Defendant:     Yes, Your Honor.

(Id. at 15).

        I ultimately concluded Ruiz’s plea was knowing and voluntary:

        There will be a finding . . . the agreement as amended is entered into . . . knowingly
        and intelligently and voluntarily by Mr. Ruiz, that he previously had been advised
        in detail concerning his rights, that the advice was summarized and repeated in the
        plea agreement, and I believe he was fully informed of the rights he would have . .
        . [and] of the fact of the waiver of those rights, the waiver of his right to appeal.

(Id. at 22).

        Despite his waiver, Ruiz appealed to the Sixth Circuit, arguing: 1) I failed to ensure there

was a sufficient factual basis for his plea; and 2) he should have received a lower sentence.




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        The Sixth Circuit rejected these claims and affirmed. U.S. v. Ruiz, No. 11-3802 (Oct. 17,

2012) (unpublished disposition). The court first held there was a sufficient factual basis for the plea.

The court then held Ruiz’s “valid guilty plea waive[d] his right to challenge his sentence”:

        [T]he district court reviewed the plea agreement with Ruiz, and ensured that he
        understood that the plea agreement limited his appellate rights to challenging a
        sentence above the 240-month statutory maximum. Furthermore, at sentencing, the
        district court reviewed the amended plea agreement, which included the same
        appellate limitations. Under these circumstances, Ruiz’s waiver is valid.

Id. at 4.

        After the United States Supreme Court denied his certiorari petition, Ruiz v. U.S., 133 S. Ct.

896 (2013), Ruiz filed his § 2255 motion, which counsel later amended.

                                             Discussion

        Ruiz seeks to vacate his sentence on two grounds: 1) my failure to describe the scope of the

appeal waiver, as Rule 11 required, was plain error; and 2) appellate counsel was ineffective for not

arguing the Rule 11 error: a) affected Ruiz’s substantial rights; and b) rendered his guilty plea

invalid.

        The government contends no Rule 11 violation occurred and, consequently, appellate

counsel’s failure to raise that issue was not ineffective.

        Although this is a collateral attack, the parties argue as if it were a direct appeal: Ruiz

invokes the plain-error standard of review, see Fed. R. Crim. P. 52(b), and the government does not

argue Ruiz’s failure to raise his Rule 11 claim on appeal worked a procedural default, Swain v. U.S.,

155 F. App’x 827, 830-831 (6th Cir. 2005).1


        1
        Nor has the government argued Ruiz’s claim is non-cognizable in a § 2255 proceeding. U.S.
v. Timmreck, 441 U.S. 780, 783 (1979) (collateral relief available for Rule 11 error only if defendant
shows error amounted to “fundamental defect which inherently results in a complete miscarriage of

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       Because the government has not contested the manner in which Ruiz frames his collateral

attack, I will proceed to the merits. Ryan v. U.S., 688 F.3d 845, 847-848 (7th Cir. 2012); see also

Wood v. Milyard, — U.S. —, 132 S. Ct. 1826, 1833 (2012) (federal court should decide case on

procedural grounds not invoked by prosecutor only in extraordinary cases).

                                          A. Rule 11 Error

       Before accepting a guilty plea, a district court must “inform the defendant of, and determine

that the defendant understands . . . the terms of any plea-agreement provision waiving the right to

appeal or to collaterally attack the sentence[.]” Fed. R. Crim. P. 11(b)(1)(N).

       “A failure of the district court to comply with this explicit requirement is error that is plain.”

U.S. v. Cohen, 515 F. App’x 405, 409 (6th Cir. 2013).

       To prevail, Ruiz must demonstrate “(1) error (2) that is plain and (3) affects substantial

rights.” U.S. v. Melvin, 557 F. App’x 390, 393 (6th Cir. 2013).

       Ruiz has not met his burden.

       The Magistrate Judge ensured Ruiz was aware of the appeal waiver during the change-of-

plea hearing. Magistrate Armstrong asked Ruiz whether he had read the agreement and understood

its terms. Ruiz testified he read the agreement and fully understood its terms.

       Thereafter, the prosecutor discussed the appeal waiver, identifying those rights Ruiz

relinquished and those he retained. Asked if the prosecutor “accurately summarize[d] the terms of

the plea agreement” (id. at 47), Ruiz answered the prosecutor had.

       These exchanges show the Magistrate Judge complied with Rule 11(b)(1)(N) at the change-

of-plea hearing. Nevertheless, Ruiz argues the information he received at that hearing is irrelevant



justice . . . or an omission inconsistent with the rudimentary demands of fair procedure”).

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because, after he agreed to an amended plea agreement, I did not accurately describe that

agreement’s appeal waiver.

        In so arguing, Ruiz ignores the detailed discussion of the waiver that occurred at that hearing.

        His lawyer told me Ruiz had reviewed “the specific waiver of appellate and post-conviction

rights” and understood “the nature of both what he is accepting as well as giving up.” (Doc. 500 at

3). The prosecutor then quoted the appeal waiver and accurately described its terms. Defense

counsel then agreed the prosecutor had correctly summarized all terms of the amended plea

agreement.

        Finally, counsel represented: 1) he had reviewed the amended agreement with Ruiz twice

that morning; 2) Ruiz had independently reviewed the agreement; and 3) Ruiz understood “all the

terms expressed by” the prosecutor. (Id. at 10). Ruiz did not object or contradict counsel in anyway.

        These exchanges, taken together with those at the change-of-plea hearing, were sufficient

to comply with the court’s obligation under Rule 11(b)(1)(N) to ensure Ruiz knew of, understood,

and agreed to the appeal waiver.

        That I told Ruiz, after these detailed exchanges, that “[o]nly if I were to give you a sentence

that exceeded the potential sentence in any way could you appeal” (Doc. 500 at 15), does not change

the result.

        First, read in context, the statement functioned as a recapitulation of all that preceded it,

rather than my sole effort to comply with Rule 11.

        Second, to the extent my statement could have caused confusion – a highly unlikely scenario,

given the extensive discussion of the waiver – that confusion could not have affected Ruiz’s

substantial rights.


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       In the cases on which Ruiz relies, the district court’s or prosecutor’s discussion of the appeal

waiver omitted an important right the defendant had relinquished, thereby causing the defendant to

believe the waiver was far narrower than the plea agreement spelled out. U.S. v. Melvin, 557

F. App’x 390, 392 (6th Cir. 2013) (court erroneously advised defendant that waiver did not prevent

appeal or collateral attack based on change in law); U.S. v. Cohen, 515 F. App’x 405, 407 (6th Cir.

2013) (prosecutor erroneously advised defendant waiver barred right to appeal only from conviction,

when waiver actually barred most challenges to sentence).

       But here, my references to “potential sentence,” and the omission of Ruiz’s rights to file an

appeal and collateral attack based on prosecutorial misconduct or ineffective assistance, would have

led Ruiz to believe his waiver was far broader than the plea agreement called for (and thus he

retained fewer rights).

       Because Ruiz, in fact, retained those rights – something he repeatedly said he understood –

– any imprecision in my remarks did not affect his substantial rights or create plain error.

       For these reasons, I reject Ruiz’s first claim.2

                              B. Appellate Counsel’s Ineffectiveness

       Ruiz also claims appellate counsel was ineffective for failing to raise the foregoing Rule 11

claim on appeal.




       2
         Because Ruiz is asking to set aside his conviction on the basis of a Rule 11 error, and is not
merely challenging the propriety of his sentence, he must show a reasonable probability that, but for
the Rule 11 violation, he would not have entered the plea. U.S. v. Dominguez Benitez, 542 U.S. 74,
83 (2004). However, Ruiz has not argued – let alone proved – he would not have pled guilty absent
the alleged Rule 11 error.

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       However, as just discussed, there was no Rule 11 violation. Because Ruiz’s appellate-counsel

claim turns on the presence of a Rule 11 violation, Ruiz cannot prevail on his appellate-counsel

claim. Coley v. Bagley, 706 F.3d 741, 752 (6th Cir. 2013).




                                           Conclusion

       For the reasons set forth above, it is ORDERED THAT:

       1.     Ruiz’s amended motion to vacate sentence (Doc. 557) be, and the same hereby is,

              denied;

       2.     No certificate of appealability will issue because an appeal from this decision would

              be without any plausible merit.

       So ordered.

                                                             /s/ James G. Carr
                                                             Sr. U.S. District Judge




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